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                                                                    July 14, 2023
  The Honorable Vera M. Scanlon
  United States Magistrate Judge
  U.S. District Court for the Eastern District of New York
  Brooklyn, New York 11201

           Re:     Henkin, et al. v. Qatar Charity, et al., 1:21-cv-05716-AMD-VMS

  Dear Judge Scanlon:

          We write in response to Plaintiffs’ letter dated July 12, 2023, ECF No. 107 (the “July 12
  Letter”), ostensibly seeking “correction of an apparent error in the Court’s July 8, 2023 decision and
  order” (the “Order”). Qatar Charity and Masraf al Rayan (“MAR” and, together with Qatar Charity,
  the “Defendants”) object to the July 12 Letter as Plaintiffs failed to meet and confer, and now
  improperly seek to relitigate the very issues that have already been briefed by the parties. Moreover,
  although the July 12 Letter is confusing, it appears to contradict the very demands that they proposed.
  Accordingly, the requests contained in the July 12 Letter should be denied.
          For the avoidance of doubt and to address Plaintiffs’ counsel’s concerns, Defendants
  understand the Order to require the production of information and documents responsive to
  Plaintiffs’ modified interrogatories and requests for production (see ECF Nos. 96-3, 96-4) to the
  extent that they inquire as to U.S. dollar-denominated transfers to the Palestinian Territories, made
  by MAR on behalf of Qatar Charity and involving a N.Y. Correspondent Account (at whatever bank
  in New York), between October 1, 2012, and September 16, 2018. As to the concerns raised on page
  2 of the July 12 Letter, the Defendants intend to produce account-opening agreements regarding any
  Qatar Charity MAR account that was (in Plaintiffs’ words) “in fact used to originate [such a transfer]
  using one of MAR’s N.Y. Correspondent Accounts.” (July 12 Letter at 2). From our perspective,
  the Defendants do not think that any further action by the Court is required.

                                                         Respectfully submitted,

                                                         /s/
                                                         John M. Hillebrecht
                                                         Kevin Walsh
                                                         Jessica A. Masella
                                                         Michael G. Lewis

                                                         Counsel for Defendant Qatar Charity

                                                         /s/
                                                         Carolina A. Fornos
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                                                         Counsel for Defendant Masraf Al Rayan

  cc:      All counsel of record (by ECF)
